Case 3:17-cv-00072-NKM-JCH Document 984 Filed 07/02/21 Page 1 of 5 Pageid#: 16477




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,          JURY TRIAL DEMANDED
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

                   THIRD SUPPLEMENTAL FILING REGARDING
                   DEPOSITION OF CHRISTOPHER CANTWELL
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         We write to update the Court regarding the status of the deposition of Defendant

  Christopher Cantwell. As Plaintiffs advised the Court in a filing on June 4, 2021 [ECF No. 961],

  after learning Mr. Cantwell was transferred by the Bureau of Prisons from Tallahatchie,

  Mississippi to Marion, Illinois, Plaintiffs immediately took steps to arrange to depose Mr.

  Cantwell in Marion. Today, Plaintiffs served an amended deposition notice to proceed with Mr.

  Cantwell’s deposition in-person at USP Marion beginning on July 15th.

  Date: July 2, 2020

                                                       Respectfully submitted,



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                                                       Roberta A. Kaplan (pro hac vice)
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                                                       Gabrielle E. Tenzer (pro hac vice)
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                                                       Counsel for Plaintiffs




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                                                 Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 2, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on July 2, 2021, I also served the following non-ECF participants via
  mail and electronic mail:

   Richard Spencer                                    Christopher Cantwell
   richardbspencer@icloud.com                         Christopher Cantwell 00991-509
   richardbspencer@gmail.com                          USP Marion, 4500 Prison Rd.
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